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                IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TRACY COHEN                                    )
                                               )       No. 1:24-cv-569
               Plaintiff,                      )
                                               )
       vs.                                     )
                                               )
KERING, GUCCI,                                 )       Hon. Judge Martha M. Pacold
GUCCI AMERICA, INC., and                       )
GUCCI NORTH AMERICAN                           )       Hon. Magistrate Judge Jeffrey T. Gilbert
HOLDINGS,                                      )
                                               )       JURY TRIAL DEMANDED
               Defendants.                     )

                                    JOINT STATUS REPORT

       This Joint Status Report complies with this Court’s December 9, 2024 Order [ECF No. 36],

       Judge Pacold granted the motion by Attorneys Tamara Holder and Alexis Pavlatos to

withdraw as counsel for Plaintiff on December 19, 2024. Judge Pacold also allowed until February

18, 2025, for new counsel to appear on behalf of Plaintiff [ECF No. 38]. To date, there has been no

such appearance of substitute counsel.

       The Parties have had to pause discovery while Plaintiff seeks new counsel. Discovery had

previously been scheduled to be completed by February 24, 2025 [ECF No. 32]. Given the withdrawal

of Plaintiff’s prior counsel, that deadline will need to be extended; the Parties intend to confer on a

new proposed schedule when Plaintiff replaces her prior counsel.



Dated: January 16, 2025




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Respectfully submitted,


/s/ Tracy Cohen                                     /s/ Rachel Cowen
Tracy Cohen                                         Rachel Cowen
Plaintiff pro se                                    Attorney for Defendants

                                                    /s/ Jean Edmonds
                                                    Jean Edmonds
                                                    Attorney for Defendants


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